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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CARLOS VEGA
and                                                       CIVIL ACTION
JOSEPH WHITEHEAD
                                   Plaintiffs,            No. 2:19-cv-04039

                v.
CITY OF PHILADELPHIA
and
LAWRENCE KRASNER
                                   Defendants.


      STIPULATION TO DISMISS LAWRENCE KRASNER AS A DEFENDANT
      WITH REGARD TO PLAINTIFF JOSEPH WHITEHEAD'S CLAIMS ONLY

      The parties hereby agree to dismiss Defendant Lawrence Krasner from the

above-captioned matter, with prejudice and without assessment of fees and costs, with

respect to Plaintiff Joseph Whitehead's claims only. This dismissal shall not affect

Plaintiff Carlos Vega's claims against Defendant Lawrence Krasner.


  /s/ Robert A. Davitch                           /s/ Lisa Swiatek
 Robert A. Davitch, Esq.                         Lisa Swiatek, Esq.
 Sidney L. Gold, Esq.                            Counsel for Defendant
 Traci M. Greenberg, Esq.                        The City of Philadelphia
 Counsel for Plaintiffs
                                                  /s/ David Smith
                                                 David Smith, Esq.
                                                 Anne Kane, Esq.
                                                 Samantha Banks, Esq.
                                                 Counsel for Defendant Lawrence Krasner


Date: September 14, 2022
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CARLOS VEGA
and                                                    CIVIL ACTION
JOSEPH WHITEHEAD
                                    Plaintiffs,

                            v.
CITY OF PHILADELPHIA
and
LAWRENCE KRASNER
                                    Defendants.


                                 CERTIFICATE OF SERVICE

        hereby certify that on September 14, 2022, the foregoing Stipulation to Dismiss

was electronically filed, and is available for viewing and downloading via the Court's

ECF system.



                                                       lsl Robert A. Davitch
                                                       Robert A. Davitch, Esq.
